     CASE 0:15-cv-04272-WMW-HB Document 70 Filed 09/22/17 Page 1 of 7



                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Kelvin Lenar Lee,                                    Case No. 15-cv-4272 (WMW/HB)

                           Plaintiff,
                                                ORDER ON MOTIONS IN LIMINE
      v.

Bryan Castle, in his individual
capacity as an officer of the
Minneapolis Police Department,

                           Defendant.


      Before the Court are six motions in limine, four by Plaintiff Kelvin Lenar Lee,

(Dkts. 44, 45, 46, 47), and two by Defendant Bryan Castle, (Dkts. 32, 33). Each motion

addresses evidence that may be proffered at trial. 1 Lee also seeks leave to conduct

attorney voir dire. (Dkt. 50.) The Court addresses each motion in turn.

      I.      Plaintiff’s First Motion in Limine to Exclude the Testimony of
              Sergeant Jindra and Officer Werner

      Lee moves to exclude the testimony of Sergeant Jeffrey Jindra and Officer Jeffrey

Werner of the Minneapolis Police Department.          Lee asserts that this testimony is

irrelevant because the officers did not observe Officer Castle’s use of force on Lee. Lee

also argues that the testimony is unfairly prejudicial and cumulative of the testimony of

1
       Officer Castle filed two additional motions in limine, (Dkts. 34, 35), seeking to
exclude the testimony of Lee’s treating physician regarding Lee’s medical condition and
to exclude any evidence as to mental condition beyond “garden variety” mental suffering.
Lee did not oppose the motions, and the parties’ representations at the pretrial hearing
establish that evidence on these matters will not be presented at trial. Accordingly, these
two motions in limine are granted.
       CASE 0:15-cv-04272-WMW-HB Document 70 Filed 09/22/17 Page 2 of 7



other witnesses. Officer Castle counters that this testimony is relevant and its probative

value outweighs the danger of unfair prejudice.

       Evidence that has any tendency to make a consequential fact more or less probable

is relevant. Fed. R. Evid. 401. In a civil lawsuit alleging excessive force, the factfinder

evaluates the amount of force used “from the perspective of a reasonable officer on the

scene.” Hosea v. City of St. Paul, 867 F.3d 949, 957 (8th Cir. 2017) (internal quotation

marks omitted). This inquiry goes beyond the perspective of the individual officer;

instead, “the question is whether the officer[’s] actions are objectively reasonable in light

of the facts and circumstances.” Graham v. Connor, 490 U.S. 386, 397 (1989). To

determine reasonableness, a district court considers “the severity of the crime at issue,

whether the suspect poses an immediate threat to the safety of the officers or others, and

whether [the suspect] is actively resisting or attempting to evade arrest by flight.” Id. at

396.

       Relevant evidence may be excluded if “its probative value is substantially

outweighed by a danger of . . . unfair prejudice . . . or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403. “Evidence that is cumulative or remote and speculative

may be excluded under Fed. R. Evid. 403 to avoid confusing or misleading the jury.”

United States v. Lucas, 499 F.3d 769, 782 (8th Cir. 2007). But “[t]he fact that another

piece of evidence speaking to an element . . . has already been introduced does not render

a later piece of evidence needlessly cumulative.” United States v. Love, 254 F. App’x

511, 518-19 (6th Cir. 2007).




                                             2
     CASE 0:15-cv-04272-WMW-HB Document 70 Filed 09/22/17 Page 3 of 7



       An evaluation of use of force includes the facts and circumstances giving rise to its

use. Here, Sergeant Jindra and Officer Werner were present for Lee’s flight and Officer

Castle’s ensuing pursuit. In addition to their testimony about their observations of the

interaction between Lee and Officer Castle, these officers can address other factors

relevant to a determination of whether the use of force was objectively reasonable. These

factors include the severity of the alleged crime and the officers’ assessment of the risk to

public safety. Because the testimony of Sergeant Jindra and Officer Werner can address

circumstances giving rise to the altercation, the severity of the alleged crime, the threat

posed by Lee, and the pursuit, this testimony is relevant.          This testimony is not

excessively cumulative, nor is it unfairly prejudicial. Accordingly, the Court denies

Lee’s first motion in limine.

       II.    Plaintiff’s Second Motion in Limine to Exclude Prior-Bad-Act
              Evidence

       Lee moves to exclude prior-bad-act evidence, including his prior convictions.

Officer Castle’s written response along with the parties’ representations at the pretrial

hearing establish that the parties agree that no reference should be made at trial to Lee’s

convictions except for the conviction arising from Lee’s conduct on May 30, 2014. As

neither Lee nor Officer Castle identifies any other prior-bad-act evidence, no other

evidence of this kind is considered at this time.

       Accordingly, the Court grants Lee’s second motion in limine as to his prior

convictions with the exception of the conviction arising from Lee’s conduct on May 30,




                                              3
       CASE 0:15-cv-04272-WMW-HB Document 70 Filed 09/22/17 Page 4 of 7



2014, and the Court denies without prejudice Lee’s second motion in limine addressing

other prior bad acts.

       III.   Plaintiff’s Third and Fourth Motions in Limine to Exclude the
              Testimony of Ralph Yehle and Katherine Wood and to Exclude
              Wood’s 911 Call

       In his third motion in limine, Lee seeks to exclude the testimony of Ralph Yehle, a

witness to the altercation, arguing that it is irrelevant and unfairly prejudicial. In his

fourth motion in limine, Lee moves to exclude the testimony of Katherine Wood, as well

as a recording of Wood’s 911 call that she placed while observing the altercation between

Lee and Officer Castle on the same basis. Officer Castle counters that the evidence is

relevant and not unfairly prejudicial.

       Evidence that has any tendency to make a consequential fact more or less probable

is relevant. Fed. R. Evid. 401. The use of force by a law enforcement officer is

evaluated “from the perspective of a reasonable officer on the scene.” Hosea, 867 F.3d at

957.

       Here, Yehle and Wood witnessed Officer Castle as he pursued and tackled Lee.

Even if Yehle and Wood did not observe Officer Castle’s exercise of force, their

testimony as onlookers could both assist the jury’s understanding of the events preceding

the use of force and aid the jury’s credibility evaluation of other testimony.         The

testimony of Yehle and Wood is not only relevant, but also probative of the contested

events. Wood’s 911 call was ostensibly a contemporaneous narration of the altercation

between Lee and Officer Castle; for that reason, the recorded 911 call is neither irrelevant




                                             4
      CASE 0:15-cv-04272-WMW-HB Document 70 Filed 09/22/17 Page 5 of 7



nor unfairly prejudicial. Accordingly, the Court denies Lee’s third and fourth motions in

limine.

       IV.    Defendant’s First Motion in Limine to Exclude the Out-of-Court
              Statement of Josh Tetzloff

       Officer Castle moves to exclude the out-of-court statement of Josh Tetzloff, a

witness to the altercation.     When Tetzloff was interviewed by an investigator, he

recounted a statement that Officer Castle allegedly shouted while pursuing Lee. Because

Tetzloff is unavailable to testify at trial, Officer Castle argues that Tetzloff’s statement is

inadmissible hearsay.

       Hearsay is an out-of-court statement offered for the truth of the matter asserted.

Fed. R. Evid. 801(c).      A police or investigative report reciting witness statements

“contain[s] double hearsay, the report itself, and what the citizen told the police.” United

States v. Taylor, 462 F.3d 1023, 1026 (8th Cir. 2006) (internal quotation marks omitted).

To be admissible, each layer of hearsay contained in the report must be admissible under

the rules of evidence. United States v. Sparkman, 500 F.3d 678, 683 (8th Cir. 2007).

       Here, there are three possible layers of hearsay: Officer Castle’s statement,

Tetzloff’s statement to an investigator, and the investigator’s report. Officer Castle’s

statement is admissible as the non-hearsay statement of a party opponent. Fed. R. Evid.

801(d)(2)(A). Tetzloff’s statement to the investigator, however, falls under no obvious

exception, nor does the investigator’s report. Although Officer Castle admitted during

his deposition that he “very probably” made the statement attributed to him, that




                                              5
     CASE 0:15-cv-04272-WMW-HB Document 70 Filed 09/22/17 Page 6 of 7



concession does not provide the guarantee of trustworthiness necessary to admit

Tetzloff’s statement to the investigator.

         Accordingly, the Court grants Officer Castle’s first motion in limine.

         V.     Defendant’s Second Motion in Limine to Exclude the Testimony of
                Monica Delaurentis

         In his second motion in limine, Officer Castle moves to exclude the testimony of

Pastor Monica Delaurentis, who Lee did not timely disclose as a trial witness. Lee argues

that Pastor Delaurentis should be permitted to testify because the delay in disclosure was

not the product of bad faith, Pastor Delaurentis’s testimony is substantially harmless, and

Officer Castle received ample pretrial notice.

         Parties must disclose information on witnesses during the discovery process. Fed.

R. Civ. P. 26(a)(1)(A), (C). Failure to make such timely disclosures may result in

sanctions, including exclusion of the evidence, unless the failure is either justified or

substantially harmless. Fed. R. Civ. P. 37(c)(1). A district court has wide discretion to

determine the appropriate remedy. Wegener v. Johnson, 527 F.3d 687, 692 (8th Cir.

2008).

         The failure to timely disclose Pastor Delaurentis’ testimony is substantially

harmless. Because Officer Castle received notice of this witness well in advance of trial,

has had the opportunity to prepare for Pastor Delaurentis’ testimony, and will be able to

cross-examine her at trial, any prejudice resulting from the late disclosure is de minimis.

Accordingly, the Court denies Officer Castle’s second motion in limine.




                                               6
     CASE 0:15-cv-04272-WMW-HB Document 70 Filed 09/22/17 Page 7 of 7



       VI.    Plaintiff’s Motion for Attorney Voir Dire

       Lee also moves for 30 minutes of attorney-conducted voir dire, in addition to voir

dire by the Court. An attorney for each party may conduct up to 15 minutes of voir dire

consistent with the Court’s Practice Pointers and Preferences. Accordingly, the Court

grants in part Lee’s motion.

                                         ORDER

       Based on the foregoing analysis and all the files, records and proceedings herein,

IT IS HEREBY ORDERED:

       1.     Plaintiff’s first motion in limine, (Dkt. 44), is DENIED.

       2.     Plaintiff’s second motion in limine, (Dkt. 45), is GRANTED IN PART

and DENIED IN PART as outlined herein.

       3.     Plaintiff’s third motion in limine, (Dkt. 46), is DENIED.

       4.     Plaintiff’s fourth motion in limine, (Dkt. 47), is DENIED.

       5.     Defendant’s first motion in limine, (Dkt. 32), is GRANTED.

       6.     Defendant’s second motion in limine, (Dkt. 33), is DENIED.

       7.     Defendant’s third motion in limine, (Dkt. 34), is GRANTED.

       8.     Defendant’s fourth motion in limine, (Dkt. 35), is GRANTED.

       9.     Plaintiff’s motion, (Dkt. 50), is GRANTED IN PART as outlined herein.


Dated: September 22, 2017                               s/Wilhelmina M. Wright
                                                        Wilhelmina M. Wright
                                                        United States District Judge




                                             7
